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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                  4:05CR3029
          v.                        )
                                    )
JEFFREY D. MATTSON,                 )
                                    )                     ORDER
                Defendant.          )
                                    )




     It has been brought to my attention that the written
judgment entered in this case was different from the sentence
announced at the sentencing hearing.           Two conditions of
probation were inserted into the judgment which, although they
were part of the sentencing recommendation, were not part of the
sentence announced from the bench.         Therefore, on the court's own
motion pursuant to Fed. R. Crim. P. 36,


     IT IS ORDERED,

     The judgment entered on August 23, 2005, filing 62, is
hereby amended as follows: On page 3, by deleting paragraphs 1
and 3.

     DATED this 30th day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
